                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

 UNITED STATES OF AMERICA,                  )
                                            )
          Plaintiff,                        )
                                            )
 v.                                         )   No. 3:16-cr-00147-7
                                            )
 GEORGE MARSH,                              )
                                            )
          Defendant.                        )

                                        ORDER

         For the reasons stated in the accompanying Memorandum Opinion, George Marsh’s

Motion for Compassionate Release (Doc. No. 473) is DENIED.

         IT IS SO ORDERED.

                                         ____________________________________
                                         WAVERLY D. CRENSHAW, JR.
                                         CHIEF UNITED STATES DISTRICT JUDGE




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